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  7

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 10               IN THE UNITED STATES DISTRICT COURT FOR THE
 11                      CENTRAL DISTRICT OF CALIFORNIA
 12   CHRISTOPHER PHILLIPS,              )   CASE NO.
 13                                      )   2:17-cv-2575-DMG-PLA
                        Plaintiffs,      )
 14                                      )
            vs.                          )    STIPULATION RE DISMISSAL OF
 15                                      )           ENTIRE ACTION
      MCCARTHY, BURGESS &                )
 16   WOLFF, INC,                        )         [FRCP Rule 41(a)(1)(A)(ii)]
      and DOES 1 to 10, inclusive,       )
 17                                      )
                     Defendants.         )
 18   ___________________________        )

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                          Stipulation re Dismissal of Entire Action
Case 2:17-cv-02575-DMG-PLA Document 16 Filed 07/07/17 Page 2 of 2 Page ID #:48



  1      TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2      Plaintiff Christopher Phillips and Defendant McCarthy, Burgess & Wolff, Inc. ,
  3   through their undersigned counsel, hereby stipulate that the above-identified action
  4   shall be dismissed in its entirety, with prejudice. Each party to bear his/her/its own
  5   costs and attorney fees.
  6   Dated: July 7, 2017                     LAW OFFICE OF LOUIS P. DELL
  7
                                              /s/ Louis P. Dell
  8                                           Louis P. Dell, Esq.
                                              Attorney for Plaintiff,
  9                                           CHRISTOPHER PHILLIPS
 10
      Dated: July 7, 2017                     SOLOMON WARD SEIDENWURM &
 11                                           SMITH, LLP
 12

 13
                                              /s/ Leah S. Strickland
 14                                           Leah S. Strickland, Esq.
                                              Attorney for Defendants,
 15                                           MCCARTHY, BURGESS & WOLFF, INC.
 16
                                        Signature Certification
 17
         Pursuant to Local Rule 5-4.3.4(a)(2), I hereby certify that all of other signatories
 18
      listed, on whose behalf this filing is submitted, concur with the contents of this filing
 19
      and have authorized the filing.
 20

 21   Dated: July 7, 2017                     LAW OFFICE OF LOUIS P. DELL
 22
                                              /s/ Louis P. Dell
 23                                           Louis P. Dell, Esq.
                                              Attorney for Plaintiff,
 24                                           CHRISTOPHER PHILLIPS
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                             Stipulation re Dismissal of Entire Action
